Exhibit 1
Peas, Salmon Meal, Potatoes, Pea Flour, Canola Oil (Preserved with Mixed Tocopherols), Tomato Pomace (Source
of Lycopene), Apple, Avocado, Flax Seed (Source of Omega-3 Fatty Acid), Alfalfa Meal, Natural Flavor, Salt,
Potassium Chloride, Vitamins (Choline Chloride, a-Tocopherol Acetate (Source of Vitamin E), Niacin, Calcium
Pantothenate, Vitamin A Supplement, Ascorbic Acid (Source of Vitamin C), Pyridoxine Hydrochloride (Source of
Vitamin B6), Thiamine Mononitrate (Source of Vitamin B1), Riboflavin Supplement, Vitamin B12 Supplement,
Vitamin D3 Supplement, Biotin, Folic Acid), Minerals (Zinc Sulfate, Zinc Amino Acid Chelate, Ferrous Sulfate,
Manganese Sulfate, Manganese Amino Acid Chelate, Copper Sulfate, Copper Amino Acid Chelate, Sodium
Selenite, Calcium Iodate), Kelp Meal, Avocado Oil, Lecithin, Rosemary Extract, Sage Extract, Pineapple Stem
(Source of Bromelain), Papain, Dried Bacillus Subtilis Fermentation Product, Dried Aspergillus Oryzae
Fermentation Product.




                                                      1
Chicken Meal, Ground Whole Brown Rice, Ground Whole White Rice, Chicken Fat (Preserved with Mixed
Tocopherols), Oat Bran, Rice Bran, Avocado, Flax Seed (Source of Omega-3 Fatty Acid), Tomato Pomace (Source
of Lycopene), Alfalfa Meal, Natural Flavor, Herring Meal, Salt, Potassium Chloride, Vitamins (Choline Chloride, a-
Tocopherol Acetate (Source of Vitamin E), Niacin, Calcium Pantothenate, Vitamin A Supplement, Ascorbic Acid
(Source of Vitamin C), Pyridoxine Hydrochloride (Source of Vitamin B6), Thiamine Mononitrate (Source of
Vitamin B1), Riboflavin Supplement, Vitamin B12 Supplement, Vitamin D3 Supplement, Biotin, Folic Acid),
Minerals (Zinc Sulfate, Zinc Amino Acid Chelate, Ferrous Sulfate, Manganese Sulfate, Manganese Amino Acid
Chelate, Copper Sulfate, Copper Amino Acid Chelate, Sodium Selenite, Calcium Iodate), Kelp Meal, Avocado Oil,
Lecithin, Rosemary Extract, Sage Extract, Pineapple Stem (Source of Bromelain), Papain, Dried Bacillus Subtilis
Fermentation Product, Dried Aspergillus Oryzae Fermentation Product.




                                                        2
Chicken Meal, Ground Whole Brown Rice, Chicken Fat (Preserved with Mixed Tocopherols), Oatmeal, Ground
Whole White Rice, Avocado, Tomato Pomace (Source of Lycopene), Beet Pulp, Salmon Meal, Natural Flavor, Rice
Bran, Flax Seed (Source of Omega-3 Fatty Acid), Alfalfa Meal, Salt, Potassium Chloride, Egg Product, Vitamins
(Choline Chloride, a-Tocopherol Acetate (Source of Vitamin E), Niacin, Calcium Pantothenate, Vitamin A
Supplement, Ascorbic Acid (Source of Vitamin C), Pyridoxine Hydrochloride (Source of Vitamin B6), Thiamine
Mononitrate (Source of Vitamin B1), Riboflavin Supplement, Vitamin B12 Supplement, Vitamin D3 Supplement,
Biotin, Folic Acid), Minerals (Zinc Sulfate, Zinc Amino Acid Chelate, Ferrous Sulfate, Manganese Sulfate,
Manganese Amino Acid Chelate, Copper Sulfate, Copper Amino Acid Chelate, Sodium Selenite, Calcium Iodate),
Kelp Meal, Chicory Root, Avocado Oil, Lecithin, Yucca Schidigera Extract, Rosemary Extract, Sage Extract,
Pineapple Stem (Source of Bromelain), Papain, Dried Bacillus Subtilis Fermentation Product, Dried Aspergillus
Oryzae Fermentation Product.




                                                      3
Chicken Meal, Ground Whole Brown Rice, Ground Whole White Rice, Oatmeal, Salmon Meal, Chicken Fat
(Preserved with Mixed Tocopherols), Avocado, Rice Bran, Tomato Pomace (Source of Lycopene), Alfalfa Meal,
Chicken Cartilage (Natural Source of Chondroitin Sulfate & Glucosamine), Flax Seed (Source of Omega-3 Fatty
Acid), Natural Flavor, Egg Product, Oat Bran, Beet Pulp, Salt, Potassium Chloride, Vitamins (Choline Chloride, a-
Tocopherol Acetate (Source of Vitamin E), Niacin, Calcium Pantothenate, Vitamin A Supplement, Ascorbic Acid
(Source of Vitamin C), Pyridoxine Hydrochloride (Source of Vitamin B6), Thiamine Mononitrate (Source of
Vitamin B1), Riboflavin Supplement, Vitamin B12 Supplement, Vitamin D3 Supplement, Biotin, Folic Acid),
Minerals (Zinc Sulfate, Zinc Amino Acid Chelate, Ferrous Sulfate, Manganese Sulfate, Manganese Amino Acid
Chelate, Copper Sulfate, Copper Amino Acid Chelate, Sodium Selenite, Calcium Iodate), Kelp Meal, Avocado Oil,
Taurine, Rosemary Extract, Sage Extract, Lecithin, Pineapple Stem (Source of Bromelain), Papain, Dried Bacillus
Subtilis Fermentation Product, Dried Aspergillus Oryzae Fermentation Product.




                                                        4
Chicken Meal, Ground Whole Brown Rice, Ground Whole White Rice, Oatmeal, Chicken Fat (Preserved with
Mixed Tocopherols), Rice Bran, Avocado, Natural Flavor, Tomato Pomace (Source of Lycopene), Flax Seed
(Source of Omega-3 Fatty Acid), Alfalfa Meal, Herring Meal, Salt, Potassium Chloride, Kelp Meal, Vitamins
(Choline Chloride, a-Tocopherol Acetate (Source of Vitamin E), Niacin, Calcium Pantothenate, Vitamin A
Supplement, Ascorbic Acid (Source of Vitamin C), Pyridoxine Hydrochloride (Source of Vitamin B6), Thiamine
Mononitrate (Source of Vitamin B1), Riboflavin Supplement, Vitamin B12 Supplement, Vitamin D3 Supplement,
Biotin, Folic Acid), Minerals (Zinc Sulfate, Zinc Amino Acid Chelate, Ferrous Sulfate, Manganese Sulfate,
Manganese Amino Acid Chelate, Copper Sulfate, Copper Amino Acid Chelate, Sodium Selenite, Calcium Iodate),
Avocado Oil, Lecithin, Rosemary Extract, Sage Extract, Pineapple Stem (Source of Bromelain), Papain, Dried
Bacillus Subtilis Fermentation Product, Dried Aspergillus Oryzae Fermentation Product.




                                                     5
Chicken Meal, Ground Whole Brown Rice, Ground Whole White Rice, Oatmeal, Salmon Meal, Rice Bran,
Avocado, Chicken Fat (Preserved with Mixed Tocopherols), Tomato Pomace (Source of Lycopene), Flax Seed
(Source of Omega-3 Fatty Acid), Alfalfa Meal, Chicken Cartilage (Natural Source of Chondroitin Sulfate &
Glucosamine), Natural Flavor, Egg Product, Salt, Potassium Chloride, Kelp Meal, Vitamins (Choline Chloride, a-
Tocopherol Acetate (Source of Vitamin E), Niacin, Calcium Pantothenate, Vitamin A Supplement, Ascorbic Acid
(Source of Vitamin C), Pyridoxine Hydrochloride (Source of Vitamin B6), Thiamine Mononitrate (Source of
Vitamin B1), Riboflavin Supplement, Vitamin B12 Supplement, Vitamin D3 Supplement, Biotin, Folic Acid),
Minerals (Zinc Sulfate, Zinc Amino Acid Chelate, Ferrous Sulfate, Manganese Sulfate, Manganese Amino Acid
Chelate, Copper Sulfate, Copper Amino Acid Chelate, Sodium Selenite, Calcium Iodate), Avocado Oil, Taurine,
Rosemary Extract, Sage Extract, Lecithin, Pineapple Stem (Source of Bromelain), Papain, Dried Bacillus Subtilis
Fermentation Product, Dried Aspergillus Oryzae Fermentation Product.




                                                        6
Chicken Meal, Ground Whole Brown Rice, Ground Whole White Rice, Oatmeal, Rice Bran, Chicken Fat (Preserved
with Mixed Tocopherols), Avocado, Tomato Pomace (Source of Lycopene), Flax Seed (Source of Omega-3 Fatty
Acid), Chicken Cartilage (Natural Source of Chondroitin Sulfate & Glucosamine), Alfalfa Meal, Natural Flavor, Oat
Bran, Carrots, Herring Meal, Salt, Potassium Chloride, Vitamins (Choline Chloride, a-Tocopherol Acetate (Source
of Vitamin E), Niacin, Calcium Pantothenate, Vitamin A Supplement, Ascorbic Acid (Source of Vitamin C),
Pyridoxine Hydrochloride (Source of Vitamin B6), Thiamine Mononitrate (Source of Vitamin B1), Riboflavin
Supplement, Vitamin B12 Supplement, Vitamin D3 Supplement, Biotin, Folic Acid), Minerals (Zinc Sulfate, Zinc
Amino Acid Chelate, Ferrous Sulfate, Manganese Sulfate, Manganese Amino Acid Chelate, Copper Sulfate, Copper
Amino Acid Chelate, Sodium Selenite, Calcium Iodate), Kelp Meal, Avocado Oil, Lecithin, Rosemary Extract, Sage
Extract, Pineapple Stem (Source of Bromelain), Papain, Dried Bacillus Subtilis Fermentation Product, Dried
Aspergillus Oryzae Fermentation Product.




                                                        7
Trout, Salmon Meal, Garbanzo Beans, Peas, Pea Flour, Herring Meal, Canola Oil (Preserved with Mixed
Tocopherols), Avocado, Natural Flavor, Tomato Pomace, Dried Beet Pulp, Alfalfa Meal, Sweet Potato, Flax Seed
(Source of Omega-3 Fatty Acid), Dried Chicory Root, Salt, Potassium Chloride, Kelp Meal, Vitamins (Choline
Chloride, a-Tocopherol Acetate (Source of Vitamin E), Niacin, Calcium Pantothenate, Vitamin A Supplement,
Ascorbic Acid (Source of Vitamin C), Pyridoxine Hydrochloride (Source of Vitamin B6), Thiamine Mononitrate
(Source of Vitamin B1), Riboflavin Supplement, Vitamin B12 Supplement, Vitamin D3 Supplement, Biotin, Folic
Acid), Minerals (Zinc Sulfate, Zinc Amino Acid Chelate, Ferrous Sulfate, Manganese Sulfate, Manganese Amino
Acid Chelate, Copper Sulfate, Copper Amino Acid Chelate, Sodium Selenite, Calcium Iodate), Avocado Oil,
Lecithin, Yucca Schidigera Extract, Rosemary Extract, Sage Extract, Pineapple Stem (Source of Bromelain), Papain,
Dried Bacillus Subtilis Fermentation Product, Dried Aspergillus Oryzae Fermentation Product.




                                                       8
Ground Whole Wheat Flour, Beef Meal, Ground Whole White Rice, Flax Seed (Source of Omega-3 Fatty Acid),
Avocado, Chicken Fat (Preserved with Mixed Tocopherols), Tomato Pomace (Source of Lycopene), Alfalfa Meal,
Natural Flavor, Salt, Potassium Chloride, Vitamins (Choline Chloride, a-Tocopherol Acetate (Source of Vitamin E),
Niacin, Calcium Pantothenate, Vitamin A Supplement, Ascorbic Acid (Source of Vitamin C), Pyridoxine
Hydrochloride (Source of Vitamin B6), Thiamine Mononitrate (Source of Vitamin B1), Riboflavin Supplement,
Vitamin B12 Supplement, Vitamin D3 Supplement, Biotin, Folic Acid), Minerals (Zinc Sulfate, Zinc Amino Acid
Chelate, Ferrous Sulfate, Manganese Sulfate, Manganese Amino Acid Chelate, Copper Sulfate, Copper Amino Acid
Chelate, Sodium Selenite, Calcium Iodate), Kelp Meal, Avocado Oil, Herring Meal, Lecithin, Pineapple Stem
(Source of Bromelain), Papain, Dried Bacillus Subtilis Fermentation Product, Dried Aspergillus Oryzae
Fermentation Product.




                                                        9
Ground Whole Wheat Flour, Beef Meal, Ground Whole White Rice, Flax Seed (Source of Omega-3 Fatty Acid),
Avocado, Chicken Fat (Preserved with Mixed Tocopherols), Tomato Pomace (Source of Lycopene), Alfalfa Meal,
Natural Flavor, Salt, Potassium Chloride, Vitamins (Choline Chloride, a-Tocopherol Acetate (Source of Vitamin E),
Niacin, Calcium Pantothenate, Vitamin A Supplement, Ascorbic Acid (Source of Vitamin C), Pyridoxine
Hydrochloride (Source of Vitamin B6), Thiamine Mononitrate (Source of Vitamin B1), Riboflavin Supplement,
Vitamin B12 Supplement, Vitamin D3 Supplement, Biotin, Folic Acid), Minerals (Zinc Sulfate, Zinc Amino Acid
Chelate, Ferrous Sulfate, Manganese Sulfate, Manganese Amino Acid Chelate, Copper Sulfate, Copper Amino Acid
Chelate, Sodium Selenite, Calcium Iodate), Kelp Meal, Avocado Oil, Herring Meal, Lecithin, Pineapple Stem
(Source of Bromelain), Papain, Dried Bacillus Subtilis Fermentation Product, Dried Aspergillus Oryzae
Fermentation Product.




                                                       10
Lamb Meal, Ground Whole Brown Rice, Lamb, Oatmeal, Ground Whole White Rice, Avocado, Tomato Pomace (Source of
Lycopene), Canola Oil (Preserved with Mixed Tocopherols), Flax Seed (Source of Omega-3 Fatty Acid), Alfalfa Meal,
Natural Flavor, Lecithin, Salt, Potassium Chloride, Vitamins (Choline Chloride, a-Tocopherol Acetate (Source of Vitamin E),
Niacin, Calcium Pantothenate, Vitamin A Supplement, Ascorbic Acid (Source of Vitamin C), Pyridoxine Hydrochloride
(Source of Vitamin B6), Thiamine Mononitrate (Source of Vitamin B1), Riboflavin Supplement, Vitamin B12 Supplement,
Vitamin D3 Supplement, Biotin, Folic Acid), Minerals (Zinc Sulfate, Zinc Amino Acid Chelate, Ferrous Sulfate, Manganese
Sulfate, Manganese Amino Acid Chelate, Copper Sulfate, Copper Amino Acid Chelate, Sodium Selenite, Calcium Iodate),
Kelp Meal, Avocado Oil, Rosemary Extract, Sage Extract, Pineapple Stem (Source of Bromelain), Papain, Dried Bacillus
Subtilis Fermentation Product, Dried Aspergillus Oryzae Fermentation Product.




                                                            11
Ground Whole Brown Rice, Lamb Meal, Ground Whole White Rice, Oatmeal, Rice Flour, Natural Flavor, Ground
Flax Seed, Avocado Meal, Herring Meal, Canola Oil (Preserved with Mixed Tochopherols), Avocado Oil,
Blueberries, Carrots, Rosemary Extract, Sage Extract, Lecithin.




                                                   12
Dried Potatoes, Duck Meal, Ground Brown Rice, Oatmeal, Rice Flour, Rye Flour, Oat Flour, Ground White Rice,
Ground Flax Seed, Dried Molasses, Rice Bran, Chicken Fat (Preserved with Mixed Tocoperols and Citric Acid),
Natural Flavor, Lecithin, Avocado Meal, Avocado Oil, Rosemary Extract, Sage Extract.




                                                     13
Chicken Meal, Chicken Fat (Preserved with Mixed Tocopherols), Ground Whole Brown Rice, Ground Whole White
Rice, Peas, Dried Egg Product, Dried Tomato Pomace, Herring Meal, Avocado Meal, Natural Flavor, Salt, Whey,
Dried Chicory Root, Potassium Chloride, Vitamins (Choline Chloride, a -Tocopherol Acetate (Source of Vitamin
E), Niacin, Vitamin A Acetate, Thiamine Mononitrate (Source of Vitamin B1), Calcium Pantothenate, Pyridoxine
Hydrochloride (Source of Vitamin B6), Menadione Sodium Bisulfite Complex, Riboflavin Supplement, Ascorbic
Acid (Source of Vitamin C), Vitamin D3 Supplement, Vitamin B12 Supplement, Folic Acid, Biotin), Minerals (Zinc
Sulfate, Zinc Amino Acid Chelate, Iron Amino Acid Chelate, Ferrous Sulfate, Copper Sulfate, Manganese Amino
Acid Chelate, Copper Amino Acid Chelate, Manganous Oxide, Sodium Selenite, Calcium Iodate), Avocado Oil,
Taurine, Calcium Carbonate, Parsley Flakes, Kelp Meal, DL-Methionine, Yucca Schidigera Extract, Inositol.




                                                     14
Chicken Meal, Ground Whole Brown Rice, Ground Whole White Rice, Chicken Fat (Preserved with Mixed
Tocopherols), Dried Tomato Pomace, Herring Meal, Avocado Meal, Natural Flavor, Dried Egg Product, Dried
Chicory Root, Salt , Whey, Potassium Chloride, Vitamins (Choline Chloride, a -Tocopherol Acetate (Source of
Vitamin E), Niacin, Vitamin A Acetate, Thiamine Mononitrate (Source of Vitamin B1), Calcium Pantothenate,
Pyridoxine Hydrochloride (Source of Vitamin B6), Menadione Sodium Bisulfite Complex, Riboflavin Supplement,
Ascorbic Acid (Source of Vitamin C), Vitamin D3 Supplement, Vitamin B12 Supplement, Folic Acid, Biotin),
Minerals (Zinc Sulfate, Zinc Amino Acid Chelate, Iron Amino Acid Chelate, Ferrous Sulfate, Copper Sulfate,
Manganese Amino Acid Chelate, Copper Amino Acid Chelate, Manganous Oxide, Sodium Selenite, Calcium
Iodate), Avocado Oil, Taurine, Calcium Carbonate, Parsley Flakes, Dried Kelp Meal, DL-Methionine, Yucca
Schidigera Extract, Inositol.




                                                     15
Salmon Meal, Salmon, Ground Whole Brown Rice, Ground Whole White Rice, Egg Product, Chicken Fat
(Preserved with Mixed Tocopherols), Potato Protein, Oatmeal, Tomato Pomace (Source of Lycopene), Pumpkin,
Avocado, Natural Flavor, Chicory Root, Salt, Whey, Cranberries, Potassium Chloride, Blueberries, Vitamins
(Choline Chloride, a-Tocopherol Acetate (Source of Vitamin E), Niacin, Vitamin A Acetate, Thiamine Mononitrate
(Source of Vitamin B1), Calcium Pantothenate, Pyridoxine Hydrochloride (Source of Vitamin B6), Menadione
Sodium Bisulfate Complex, Riboflavin Supplement, Ascorbic Acid (Source of Vitamin C), Vitamin D3 Supplement,
Vitamin B12 Supplement, Folic Acid, Biotin), Minerals (Zinc Sulfate, Zinc Amino Acid Chelate, Iron Amino Acid
Chelate, Ferrous Sulfate, Copper Sulfate, Manganese Amino Acid Chelate, Copper Amino Acid Chelate,
Manganous Oxide, Sodium Selenite, Calcium Iodate), Avocado Oil, Lecithin, Salmon Oil, Taurine, Calcium
Carbonate, Parsley Flakes, Kelp Meal, DL-Methionine, Yucca Schidigera Extract, Inositol.




                                                     16
Chicken Meal, Ground Whole Brown Rice, Ground Whole White Rice, Chicken Fat (Preserved with Mixed
Tocopherols), Dried Tomato Pomace, Herring Meal, Avocado Meal, Pea Hull Fiber, Natural Flavor, Dried Chicory
Root, Dried Egg Product, Whey, Potassium Chloride, Vitamins (Choline Chloride, a -Tocopherol Acetate (Source of
Vitamin E), Niacin, Vitamin A Acetate, Thiamine Mononitrate (Source of Vitamin B1), Calcium Pantothenate,
Pyridoxine Hydrochloride (Source of Vitamin B6), Menadione Sodium Bisulfite Complex, Riboflavin Supplement,
Ascorbic Acid (Source of Vitamin C), Vitamin D3 Supplement, Vitamin B12 Supplement, Folic Acid, Biotin),
Minerals (Zinc Sulfate, Zinc Amino Acid Chelate, Iron Amino Acid Chelate, Ferrous Sulfate, Copper Sulfate,
Manganese Amino Acid Chelate, Copper Amino Acid Chelate, Manganous Oxide, Sodium Selenite, Calcium
Iodate), Avocado Oil, Taurine, Calcium Carbonate, Parsley Flakes, Kelp Meal, DL-Methionine, Yucca Schidigera
Extract, Inositol.




                                                      17
Ocean Fish Meal (Source of Omega 3), Peas, Tapioca Flour, Pea Flour, Chicken Meal, Chicken Fat (Preserved with
Mixed Tocopherols), Dried Tomato Pomace, Avocado, Natural Flavor, Flax Seed, Dried Egg Product, Dried
Chicory Root, Salt, Whey, Potassium Chloride, Vitamins (Choline Chloride, a-Tocopherol Acetate (Source of
Vitamin E), Niacin, Vitamin A Acetate, Thiamine Mononitrate (Source of Vitamin B1), Calcium Pantothenate,
Pyridoxine Hydrochloride (Source of Vitamin B6), Menadione Sodium Bisulfite Complex, Riboflavin Supplement,
Ascorbic Acid (Source of Vitamin C), Vitamin D3 Supplement, Vitamin B12 Supplement, Folic Acid, Biotin),
Minerals (Zinc Sulfate, Zinc Amino Acid Chelate, Iron Amino Acid Chelate, Ferrous Sulfate, Copper Sulfate,
Manganese Amino Acid Chelate, Copper Amino Acid Chelate, Manganous Oxide, Sodium Selenite, Calcium
Iodate), Avocado Oil, Lecithin, Taurine, Calcium Carbonate, Parsley Flakes, Kelp Meal, DL-Methionine, Yucca
Schidigera Extract, Inositol.




                                                      18
Turkey Meal, Peas, Tapioca Flour, Pea Flour, Chicken Fat (Preserved with Mixed Tocopherols), Dried Tomato
Pomace, Herring Meal (Source of Omega 3), Avocado, Natural Flavor, Flax Seed, Dried Egg Product, Dried
Chicory Root, Salt, Whey, Potassium Chloride, Vitamins (Choline Chloride, a-Tocopherol Acetate (Source of
Vitamin E), Niacin, Vitamin A Acetate, Thiamine Mononitrate (Source of Vitamin B1), Calcium Pantothenate,
Pyridoxine Hydrochloride (Source of Vitamin B6), Menadione Sodium Bisulfite Complex, Riboflavin Supplement,
Ascorbic Acid (Source of Vitamin C), Vitamin D3 Supplement, Vitamin B12 Supplement, Folic Acid, Biotin),
Minerals (Zinc Sulfate, Zinc Amino Acid Chelate, Iron Amino Acid Chelate, Ferrous Sulfate, Copper Sulfate,
Manganese Amino Acid Chelate, Copper Amino Acid Chelate, Manganous Oxide, Sodium Selenite, Calcium
Iodate), Avocado Oil, Lecithin, Taurine, Calcium Carbonate, Parsley Flakes, Kelp Meal, DL-Methionine, Yucca
Schidigera Extract, Inositol.




                                                     19
